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AO       - 11 1?) Search and Sei/urc Warrant (Tare I)


                                                                 Return

Case No.:                              Dale ;md time warrant executed:        Copy of warrant and inventory left with:
                                               ^5 u     Ja
                                      Oio
Inventory made in tlie presence of: ',                  ,i
                  -gA CUrKr                         MolUcI n
invcntoiy-01 itic property taken and name or any person(s) scizca.                >»      \                       P"             \ \

(0 One- DvD ConA<=.;r^:.-^ 7,^£S                                              fPOfJ
 9fa^^5 V-s ^V. kccc.^\.

                                                                                                                        c/>:3:




                                                              Certification



        I declare under penally of perjury that this inventory is correct and was returned along witli the original warrant to ih(
designated judge.



Date: O /a
                                                                                       Exa»4iiii^ officer's signawre

                                                                                       i-/'/ncc='
                                                                                          Priiiii'ii ininie ami title
